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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

  NEW CONCEPT ENERGY, INC.

  Plaintiff,                                                No. 18-cv-8896 (VSB) (RJL)

  v.                                                        ECF Case

  GUY GENTILE and
  MINTBROKER INTERNATIONAL, LTD.,

  Defendants.
Related to:
  AVALON HOLDINGS CORP.,

                        Plaintiff,                          No. 18-cv-7291 (VSB) (RJL)

                        v.                                  ECF Case

  GUY GENTILE and
  MINTBROKER INTERNATIONAL, LTD.,

                        Defendants.


                PLEASE TAKE NOTICE that upon the accompanying Brief and Affidavit of

Miriam Tauber (and attached Exhibits), and the pleadings, Plaintiff New Concept Energy, Inc.

hereby moves the Court for entry of Summary Judgment pursuant F.R.C.P. 56.

Dated: Aug. 10, 2020
       New York, NY

s/ Miriam Tauber                                   s/ David Lopez
_____________________
Miriam Tauber (MT-1979)                            David Lopez (DL-6779)
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